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                          UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
                              WEST PALM BEACH DIVISION

IN RE:                                                 :       CHAPTER 11
                                                       :
TP5, LLC,                                              :       CASE NO.13-21573-EPK
                                                       :
Debtor.                                                :


           UNITED STATES TRUSTEE’S MOTION TO DISMISS OR CONVERT

         COMES NOW the United States Trustee for Region 21, in furtherance of the

administrative responsibilities imposed pursuant to 28 U.S.C. §586(a), and respectfully moves

this Court to enter an order dismissing, or converting to Chapter 7, the above-styled case. As

cause therefore, the United States Trustee shows as follows.

         1. The Debtor filed a voluntary Chapter 11 petition on May 17, 2013.

         2. The Debtor’s schedules reflect real property with a value of $498,705, personal

            property valued at $22,100, secured claims of $1,835,000 and general unsecured

            claims in the total amount of $125,000.

         3. The Debtor has not filed monthly operating reports for September, October,

            November and December 2013.

         4. On June 25, 2013 and on August 2, 2013, the Court granted OB Real Estate Holdings

            1732, LLC relief from the automatic stay related the Debtor’s real estate.

         5. The Debtor has listed on its schedules a 100% ownership interest in Aviatat, LLC,

            which appears to have an interest in an airplane. The Debtor values this entity at

            $10,000.
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    6. The Debtor also discloses 100% ownership in JurisMortgage Practice Resources,

       LLC with a value of $5,000.

    7. The Debtor filed Official Form 26 (Periodic Report) regarding these entities on July

       10, 2013.

    8. The Debtor has not paid U.S. Trustee’s fees.

    9. On October 7, 2013, the Court entered an order purporting to extend the plan deadline

       to December 16, 2013. The Order (DE #66) refers to Debtors in another case, which

       appears to be a typographcial error. A second motion to extend the plan deadline was

       set for hearing on January 9, 2014 however, a review of the docket indicates that

       counsel did not serve the notice of hearing on all parties and no order is entered on

       the docket.

    10. The Debtor has not filed a plan of reorganization and disclosure statement.

    11. The dockets reflect that the Debtor is not appearing to move this case towards

       confirmation.

    12. Section 1112(b)(1) provides that, absent unusual circumstances, the Court shall

       dismiss or convert a case to Chapter 7 if the movant establishes cause. Section

       1112(b)(4) provides a list of causes that would meet the requirements of 11 U.S.C.

       §1112(b)(1).

    13. Failure to timely file monthly operating reports are cause for dismissal or conversion

       pursuant to 11 U.S.C. §1112(b)(4)(F).

    14. Failure to pay U.S. Trustee’s fees is cause for dismissal or conversion pursuant to 11

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           U.S.C. §1112(b)(4)(K).

       15. Failure to file a disclosure statement within the time fixed by this title is cause for

           dismissal or conversion pursuant to 11 U.S.C. §1112(b)(4)(J).

       16. The U.S. Trustee submits that is not in the best interest of this estate and its creditors

           to remain in Chapter 11.

       17. Debtor’s failure to abide by the requirements of the Bankruptcy Code is not in the

           best interests of creditors and the estate and constitutes grounds for dismissal or

           conversion under 11 U.S.C. §1112.

                            CERTIFICATION OF CONFERENCE

       I HEREBY CERTIFY that, pursuant to Local Rule 9073-1(D), I have contacted the

Debtor’s counsel to attempt to resolve the issues herein. (Signature below).

       WHEREFORE, the United States Trustee respectfully request this Court enter an Order

dismissing or converting this case to Chapter 7 and granting any other or further relief the Court

deems just and appropriate, including setting a deadline by which a plan and disclosure statement

should be filed.

                                                       GUY G. GEBHARDT
                                                       Acting United States Trustee


                                                               /s/
                                                       HEIDI A. FEINMAN
                                                       Trial Attorney
                                                       Florida Bar No. 0879460
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                                      CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the UNITED STATES TRUSTEE’S

MOTION TO DISMISS OR CONVERT was electronically filed with the Court using the

CM/ECF system, which sent notification to all parties of interest participating in the CM/ECF

system.

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         I hereby certify that I am admitted to the Bar of the State of Florida and the I am excepted from additional
qualifications to practice in this Court pursuant to Local Rule 9011-4 pertaining to attorneys representing the United
States government.



         DONE this the 31st day of January, 2014.



                                                                          /s/
                                                               HEIDI A. FEINMAN
                                                               Trial Attorney 




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